496 F.2d 533
    Hardy SMALLWOOD, Appellant,v.FIRESTONE TIRE AND RUBBER COMPANY, Appellee, Ford MotorCompany and Robie Ford Sales Company, Inc., Defendants.FIRESTONE TIRE AND RUBBER COMPANY and Ford Moter Company,Third-Party Plaintiffs,v.AVIS RENT A CAR SYSTEM, INC., Third-Party Defendants.
    No. 943, Docket 73-2828.
    United States Court of Appeals, Second Circuit.
    Argued May 7, 1974.Decided May 8, 1974.
    
      Jerome Cooper, Valley Stream, N.Y.  (Cooper, Hochman &amp; Glover, Valley Stream, N.Y., on the brief), for appellant.
      Robert K. Ruskin, New York City (Baer &amp; Marks, New York City, on the brief), for appellee.
      Before ANDERSON, FEINBERG and MANSFIELD, Circuit Judges.
      PER CURIAM:
    
    
      1
      Plaintiff Hardy Smallwood appeals from a judgment in favor of defendant Firestone Tire and Rubber Company entered in the United States District Court for the Eastern District of New York.  The case had originally been tried against Firestone and others before Walter Bruchhausen, J., and a jury, which was able to agree on only two of the several interrogatories submitted to it.  As to these, the jury's response exonerated Firestone and was accepted by the judge as a verdict favorable to that defendant, although a mistrial was declared with respect to the remainder of the action.1  Appellant argues to us that there was no proper jury verdict on his claims against Firestone and that he was denied the right to poll the jury.  We have considered these contentions and find them without merit.  Although there was much room for improvement in the way the jury verdict was taken, we conclude that substantial justice was done and that there was no reversible error.
    
    
      2
      Judgment affirmed.
    
    
      
        1
         The remaining claims were settled during a retrial before another judge
      
    
    